Case 2:18-cv-O4644-L|\/|A-.]V|\/| Document 1 Filed 05/07/18 Page 1 of 8

Plo S¢; 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

UNITED STATES DISTRICT COURT

for the

EAN£ A/ Districtof L_g/,{/'§/”_,VA_
Division
CaseNo. §§ m 46 §§

(to be filled in by the Clerlc 's Oj?ice)

§E@‘l., l MA@,,

Jul'y Tl'ial! (check one) |:\ YCS l:| NO

 

Flaintij%s')
(Write the fall name of each plainti,@" who is filing this complaint If
the names of all the plaintiffs cannot fit in the space above, please
write “see attached " in the space and attach an additional page
with the jitll list of names )

711¢»9/1/5/ sam eci/we vj§ss/?m beam
M.D,)/}A//‘JH nThq_)m,g./Ekl'a.s’/moA/,m r),Jtp`/¢ y

QVVV\'/VV\_/

vao WEz./_,m,p,) 645 /EL ):/'.‘7'7'£, rn,p,! gear ,4
L).= z.=, M¢D,
M,p/))vo 00»€0/. 31 rate atty
(Write the full name of eac defendant who is being sued. lf the )
names of all the defendants cannot f t in the space above. please )
write “see attached" in the space and attach an additional page )
with the full list of names. )

COMPLAINT FOR A CIVIL CASE ALLEG]NG NEGLIGENCE
(28 U.S.C. § 1332; Diversiry of cirizenship)

I. 'I`he Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name 651/trw /-jnwz'#a/€¢iéz
Street Address §4¢9,2, EL )<9/ g/g/ F/£Z D_$' 14 V'E
city and county /yz-'W %€¢m/V/;z‘, z./? (d»€££y/l/<§ #9£/5/7‘)
v State and Zip Code L 4
f Telephone Number /5'¢9§¢ ) 59;°} 9 7‘9/5
E-mail Address 3 ne \/‘q, |,U+ r\ e/ ' . m

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether t e defendant `1€
individual, a government agency, an organization, or a corporation For an individ °" tx

include the person 's job or title ( f known) Attach additional pages if needed. "'_ x§'k?g°”

.__. CtRmDep

____Doc. No.¥_ag, c o `

 

¢-__¢_-_,.

Case 2:18-cv-O4644-L|\/|A-.]V|\/| Document 1 Filed 05/07/18 Page 2 of 8

Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

Defendant No. 1

Name

Job or Title (ifknown)
Street Address

City and County

State and Zip Code
Telephone Number
E-rnail Address (;'flmown)

Defendant No. 2

Name

Job or Title @fknown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (iflmown)

Defendant No. 3

Name

Job or Title (tfknown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (ifknown)

Defendant No. 4

Name

Job or Title (1]” known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (ifknown)

Dn. _JE$§)‘¢:Q, DeBmeD,/‘M»D,
mimqu we 779)<
/4/5’ 7§¢.¢£4£ A¢VZ»’/
/)/.¢-'W ¢n/.£m/>j, amgen/5
l_/C} _ ‘70//&
550'¢/) ?YF ~ aaa z

 

TM/.A/t/z e//t//}//.r,e§/ry way/vw 440 é*z,-,.//é»,
/`77£.0/ bna /-“»9 ez/_I,T`/
/')‘/5 7'0/¢ ,o/)/[ 671/ai

A/£n/ deal-pma MFLM ms
L/y, 70//;

way age - 5°?¢3

 

\DR. )€74//§.$”/~/'- U; l%7'£L,,”l)D/
/}7££/2>/7’¢_ ,Daa 77a/3

/1// 5 Tb/M/z/£ 19 t/F,

A/Fn/ dea 504/5. yateva

LA VJ//,L

(:>"e'/) 7%» ama 3

 

`D;e. f»€/`c J;/m/z/, AF,D,
/Vf?>/Z‘Hz. bai??£
//7¢/5 77//.¢ 0/2/£’ il/E,

A/F#M lazzara/62 UH¢M//S

46 , 70//,2,
§JZ) 7)?)3’ -6°?¢ 3

 

 

 

Page 2 of 5

Case 2:18-cv-O4644-L|\/|A-.]V|\/| Document 1 Filed 05/07/18 Page 3 of 8

Prb Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

Defendant No. g

 

 

 

 

 

 

Name Dt€. J’/M/z>’ ida/6 w£L/_, »7,0»
Job or Title trt/mann /}7[0/ Mz. bad 70¢?

Street Address / /7//5 774¢,94/! ,Ql/F,

City and County /V'F W J,€LMd/J, y,e¢f 1947 5'
State and zip code L.,g , 7¢//,,§,

Telephone Number [S”g/él > qff¢- 502 6 z

E-tnail Address nftnnwn) ` “

Defendant No. 6

 

 

 

 

 

 

 

Name \Dp, 695 ,Q/F/_ /L.E 772':, wl D/
.Tob or Title (zflmown) /U£"D/ d HL- DJC '7&£

Street Address / 171/5 71»/£€/1/§ 41/£’,

City and County /V'£/l/ Je,¢£qul/.S", F£Z£/?/!/.S'

State and Zip Code Z_ 0 ` 7@//02

Telephone Number /5`{§/7( ) ?YK “' 592 § z

E-mail Address (tfknown) ` l

Defendant No. ?-

 

 

 

 

 

Name \Dp, gant/pa aaa /az),

10b or nut (tfn,own) mgp/ 291 270 ¢!'7'.¢;€

Street Address /»9(/5 TL/Lj/l/f' g V'F/

city and county /1/,¢:‘“/ &,q/_t=gg/z/`§} @,€4£75’4/5
State and Zip Code L/~; , 7§//0?,

Telephone Number
E-mail Address (iflcnown)

Defendant No. $,

 

grsz ‘.?,N‘- 5°2¢.2»

 

 

 

 

 

 

 

name ,ZJ,€. A/,e/:s~ 72£/1/ &mzt§ %D.
10b or Title anew /WF_D/ 22 /51/. \Dd¢ 77£

Street Address / H/ _§' `/"Z//L/q 4/[ /? l/Z'¢ /

City and County /l/Z:`l/(/ ¢QHLM/V'S', JHZ£"€/l/-§
State and Zip Code Z_ /9 ,_ /7”//;{_,

Telephone Number gdbi) q Yg "' 5°? é 3

E-mail Address (ifknawn)

 

PageZ of 5

Case 2:18-cv-O4644-L|\/|A-.]V|\/| Document 1 Filed 05/07/18 Page 4 of 8

Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

 

 

 

 

 

 

 

 

 

 

 

 

 

Defendant No.q
Name DQ, /Ma/Mm/nz,/> AHG
Job or Title rif/mann mfg /`c ga pad MR
Street Address / L/l 5 7"HL A/VF 14 VF/
City and County /1/'£ W 531-5 /?)V 5, , d&M//.S
State and Zip Code Z/_A l 7@//3,
Telephone Number /§-217( d ?ff' " §§ § 5
E-rnail Address (iflmown) ` d
Defendant No. 10
Name _J)_n. ganey grave aaa ,
Job or Title amato /%F‘D/‘C;.AL 1006 YA/Q
Street Address / L//; TMZ/?/|/f 4 VF/
City and County /I/FW I/€¢ M/l/`§) Z/<LFH»l/_$
State and Zip Code Z_ g , ’75//3./
Telephone Number é§'@’) 7??" §§ ¢__z

 

E-mail Address (tfknown)

 

Defendant No. 3
Name
Job or Title (ifknown)
Street Address
City and County
State and Zip Code
Telephone Number

 

 

 

 

 

 

E-mail Address (ifknown)

 

Defendant No. 4
Name
Job or Title (gf/tnown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (t'flmown)

 

 

 

 

 

 

 

PageZ ot` 5

Case 2:18-cv-O4644-L|\/|A-.]V|\/| Document 1 Filed 05/07/18 Page 5 of 8

Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
more than $75,000. ln that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
the same State as any plaintiff Explain how these jurisdictional requirements have been met.

A.

The Plaintiff(s)

l.

If the plaintiff is an individual
The plaintiff, (name) G`E/V'E\/A A/',q;_¢_y wpp/wary , is a citizen of the
State of(name) L/M£~ma Jz/HZQ § Q`f‘ gm d z l ‘C, H,

If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) ,

 

and has its principal place of business in the State of (name)

 

(lf more than one plaintiyj’ is named in the complaint attach an additional page providing the
same information for each additional plaintijf)

The Defendant(s)

l.

 

If the defendant is an individual
The defendant, (name) ` 1555 fog DEB@”D ) M.p , , is a citizen of
the State of (name) /y/ ' ;,(7}74 ft 010 ' . Or is a citizen of

(foreign nation)

 

If the defendant is a corporation
@/

The defendant, (name) M/;y; 7 },_ ,4
the laws of the State of (name) Ly¢{/f$'/g,y,q _ % dog _ , and has its
principal place of business in the State of (name) ZJ//K//gA/)g _ L/ J 14 ,

Or is incorporated under the laws of (fareign nation) ,

m ‘ is incorporated under

 

 

 

and has its principal place of business in (mtme)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (e.xplain):

Page 3 of 5

CaS€ 2118-0\/-046 I\/lA-_Jvl\/l Documem 1 Filed 05/07/13 Page 6 Or 3
I 3145/5 d/" jai/6 D/£T/,ynl
` 3 777'!§ D£F’E/V`D)?/VT§ dam/rip,

_ /SZ’/\/)/i//p./,/Az 5)
3 d/w§/¢ J.' 144 7;/';/ 174, p,/ £ITIzF/i/ a/' A/..)?,¢

’7', fina ~J)/n¢M/, /77/0,/ £ITJZA'/i/ ap ¢/,5,,4,
` ¢ ,.r,,¢,
5 ’ J/OVFY zam/G»Mzzz_/ ////D,/ dwsz /// é/

4”' éiM/?'Z W)zj may amng a/= a.»::;
'7, B)€P?l/,D/? LEE/, /74,@ @_Zf/ZFA/ gpc L/- , ,

(?' /§/,€/L€`?'FF/i/ gaming W./),/ C/T/an/a/=L/£A,

7 /llb//¥/MMA@ /Q/!G:, %J,) U_ZTIZFA/ d/-' l/.S/¥ 1
/t, §61@¢ »F/`M;@ /%,p./ dzzzzgi/ MFM§/¢.

Case 2:18-cv-O4644-LI\/|A-.]V|\/| Document 1 Filed 05/07/18 Page 7 of 8

v 1
Pro $e 5 (Rev. 12/16) Complaint for a Civil Case Al|eging Negligence

dfz`a\s$ a/¢' _z'/Vc‘aw?£/. 4/££/./’624/7/'¢6»€1?, /€4//1/41/£ JW/J~zze//v'e f

l

(!W van/152 ?" E§/£//aldé 1049
I]I. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed.

/0? / /y ' , l -
On (dare)/o?[/Q/LZ)% ,/af%ace) 7Z/M/l/E L//V'/¢/}Bl`/Z'V /§/MF//`/'W_ AI\/D &/'/x///;/ ’

the defendant(s): (l) performed acts that a person of ordinary prudence in the same or similar circumstances
would not have done; or (2) failed to perform acts that a person of ordinary prudence would have done under the
same or similar circumstances because (describe the acts or failures to act and why they were negligem)

//,WA/f/FF» /,3 JF/.~'A///vé LL¢/néF/z/JAWI/¢)/Ze //)£p)'c.H/, mm Ae¢m‘!£ A>'“'l/'M"é
//1/ 77/;_:' 25#7)9 d/:' /)/PT<" \J°J‘I/ '

.DfFF/v/>a /W'§, Ia/p/»//p aa/././ 0/€ JZ¢//)/)z )j 541sz 70 /}/¢-“é' 7 7»’9/&“ _

57a/rp/WD a/f G/WL»’ //F IF?¥JF/l/€Gt /£X/Faz£:/y ¢/W€E, FA-fé/¢ _7//)/6 //1/

/DFDPWW m 7)72"7? 5 @717 W W'?-E:€ 575 727P 75%#7?1¢_?75€1#7€6 E.
The acts or omissions caused or contributed to the_ cause of the plaintiffs injuries by (explain)

159/arp 72 1/)// 77a Z_¢'A¢Aa///n/zf D/;Q¢ rtc/5 ,€asz~/) a/z/ 4/2'///€/¢¢ a /

civ/mm 7 5@/» /H/ae Aa;//mz/ 'z/; r/M/ /aa¥aa//;>, D/&t¢/M»€é'fp
pdf/Z»W:r M)"A/M 7 VW/F/MW@M JF F/"/-"f@ "“/f”fs ’ 6/" D""'Q" T’ @/@45 ”O'
/V/M,€e’ 77 4904//)3£ diana wd£!< Fd£ /)’//M»<Z'LE/)))A ?'/=/)’FJGLV¢!£'/vid;

. t __ _ ~ F j ' / 7 1 / 1 _’

. _~= ,/ l `,. _ 0
p/.MM/Qa§, )E?ASFD

   
  

  

l

 

   

¢~,¢_ , ,r, »' , .1’ - , ¢,-, , ,, :’
lmra/fpm er/_z‘/v_zv-z,a T£’/?awaz D/Az><r/z ’57'
a/?/ z 196 F/n/¢>//z/a 5 \

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the Wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. lnclude any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

2fo ;@,9//;/ 77,;7; /j‘§ JFF/<//z/@ aig/va a/ aaa ¢/f,¢>, 616 7',4/¢~' /an/@a/,
/nAz Fnaar/@z=“ aF W¢£D£F£w/pg/v):z /,Ls 19 game Fw£_ T7+F
6//1/77/)1§¢ y Qm 7/!_¢’/"' //£»7?032’/~/, /7//5 A/nda/W :Z/\/d¢upr§
twa ap F//z/m/a/m. su/Mvifd/:/,l£z ,.;//{, 1411/y WJFF#/d 7/@/1/4¢»
/Azh/ A'/VD J` 1¢/’/’£7€//)/`6 atf /5'/1/ %/VJ?/z‘f/F/Fp W/.}/ ,yg;¢ 77,£9,
Za'yr J,yz‘ //)% /,w.a £¢/z/z/‘/;//F_§ 72 271/maez

   

IV. Relief

 

Page4 of 5

Case 2:18-cv-O4644-L|\/|A-.]V|\/| Document 1 Filed 05/07/18 Page 8 of 8

Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

V. Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Offlce with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case,

Date of signing: J/W/A?g/X/
/ ,
Signature of Plaintiff %’L@fa_/é//"M

Printed Name of Plainrifr ' §£/1/£1/,;1 /./gw 77714/€/1/¢5

 

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

Street Address '
State and Zip Code

Telephone Number

E-mail Address

 

 

 

 

 

Page 5 of 5

